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            EXHIBIT 1
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                     Entertainment LLC
               9
             10

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             12
                                                   UNITED STATES DISTRICT COURT
             13
                                                NORTHERN DISTRICT OF CALIFORNIA
             14
                                                        SAN FRANCISCO DIVISION
             15

             16

             17      FEDERAL TRADE COMMISSION,                       Case No. 3:23-cv-2880

             18                           Plaintiff,
                                                                     DECLARATION OF CHRISTIAN
             19                   v.
                                                                     SVENSSON IN SUPPORT OF NON-
             20      MICROSOFT CORP.,                                PARTY SONY INTERACTIVE
                                                                     ENTERTAINMENT LLC’S MOTION
             21      and                                             AND ADMINISTRATIVE MOTION
                                                                     FOR SEALING AND IN CAMERA
             22      ACTIVISION BLIZZARD, INC.,                      TREATMENT
             23                           Defendants.

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             28
                        DECLARATION IN SUPPORT OF SONY INTERACTIVE ENTERTAINMENT LLC’S
                                MOTION FOR SEALING AND IN CAMERA TREATMENT
                                              CASE NO. 3:23-CV-2880
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                            I, Christian Svensson, declare as follows:
               1
                            1.       I am Head of Global Third Party Relations at Sony Interactive Entertainment LLC
               2

               3    (“SIE”). I am more than eighteen years of age. Based on my experience with SIE, I am familiar

               4    with SIE’s protection of its trade secrets and other confidential and proprietary business

               5    information discussed below. I make this declaration based on personal knowledge, and I could
               6    testify competently to the matters set forth herein.
               7
                            2.       I understand that on June 20, 2023, the Federal Trade Commission (“FTC”) and
               8
                    defendants Microsoft Corporation and Activision Blizzard, Inc. filed exhibit lists with the Court
               9
                    (ECF Nos. 128 and 137, respectively). I understand that the listed exhibits reference or contain
             10

             11     certain highly confidential SIE information. I also understand that SIE intends to file a motion for

             12     sealing and in camera treatment of these documents to protect SIE’s confidential information. I

             13     make this declaration in support of that motion.
             14
                            3.       I understand that the proposed exhibits contain several different categories of
             15
                    confidential information, including:
             16
                                     •   Non-public SIE data, analysis, and survey results relating to SIE product
             17

             18                          strategy and platform users’ behavior on SIE’s platform, including user

             19                          engagement, gameplay, spend, likelihood of switching, or potential

             20                          competitive impacts of Microsoft’s proposed acquisition of Activision;
             21
                                     •   Non-public information about SIE’s approach to contract negotiations with
             22
                                         third party partners and discussions of particular contract terms with particular
             23
                                         partners;
             24

             25                      •   Non-public information on the nature and scope of SIE’s technical

             26                          collaboration with particular publishers;

             27                      •   Non-public information about SIE’s business strategies, competitive business
             28                                         1
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                                         plans, future investment plans, console and product development plans,
               1

               2                         product roadmaps, innovation plans; and

               3                     •   Non-public SIE business analysis regarding competitors’ and commercial

               4                         partners’ behavior and products.
               5
                            4.       The information SIE seeks to keep confidential is non-public information internal
               6
                    to SIE. The information includes confidential, internal SIE data, including platform user and
               7
                    franchise data, and economic and commercial analyses and business strategies that are not
               8
                    publicly accessible outside SIE. These data and analyses include franchise performance
               9

             10     comparisons, user preferences, player spending amounts, and other categories of data. SIE’s

             11     access to and use of these data and analyses is a competitive advantage that it relies upon for
             12     strategic planning, including competitive, marketing, and business strategies. SIE’s competitive
             13
                    analysis of the potential impacts of Microsoft’s proposed acquisition of Activision on SIE’s
             14
                    business, in particular, is based on and informed by SIE’s internal data and analyses and should
             15
                    not be made publicly available. SIE’s commercial partners could gain unfair leverage in future
             16

             17     SIE interactions with knowledge of SIE’s specific competitive concerns regarding the proposed

             18     transaction.

             19             5.       SIE’s confidential business strategies and plans to compete, including product
             20     innovations plans, are also highly sensitive and cannot be shared with SIE’s competitors without
             21
                    detriment to SIE. SIE operates on the basis that its business strategy materials and discussions
             22
                    will not be shared outside SIE and it seeks competitive advantage by maintaining secrecy over
             23
                    these strategies and plans. SIE strictly restricts dissemination of this type of data and competitive
             24

             25     and business strategy analyses. SIE takes steps to preserve the confidentiality of this type of

             26     information to protect SIE’s competitive position, and its release could provide insight into SIE’s

             27     strategic plans or create information asymmetries during commercial negotiations. SIE does not
             28                                         2
                        DECLARATION IN SUPPORT OF SONY INTERACTIVE ENTERTAINMENT LLC’S
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                    share this information with the public.
               1

               2            6.       SIE also seeks to keep confidential information relating to its approach to contract

               3    negotiations with particular counterparties and details of particular contract terms between SIE

               4    and certain counterparties. These negotiations and any resulting contracts are often subject to
               5    confidentiality provisions. Public release of this information would put SIE at a disadvantage in
               6
                    current and future negotiations by creating an information asymmetry between SIE and its
               7
                    counterparties, whereby counterparties would have insight into SIE’s negotiations and outcomes,
               8
                    but SIE would have no insight into its counterparties’ negotiations and outcomes. Moreover,
               9

             10     even the very existence of negotiations and contracts with certain third parties is confidential and

             11     could not be disclosed publicly without risking substantial harm to SIE’s other business

             12     relationships.
             13
                            7.       Similarly, SIE seeks to keep confidential information detailing the nature and
             14
                    scope of SIE’s technical collaboration with third-party partners. Such collaboration with
             15
                    independent developers and publishers is an important component of SIE’s strategy to
             16
                    differentiate its products. Public disclosure of the details of this collaboration would
             17

             18     disadvantage SIE by giving competitors insight into its product design process and damaging

             19     SIE’s sensitive partner relationships.
             20             8.       Disclosure of SIE’s highly confidential information contained in the
             21
                    aforementioned paragraphs could unfairly enable SIE’s competitors to gain insight into SIE’s
             22
                    strategic thinking and business strategy and provide competitors with internal data SIE uses for its
             23
                    own competitive advantage and planning, giving an unwarranted advantage to competitors and
             24

             25     business partners and risking competitive harm to SIE. Such information would be immensely

             26     valuable to competitors in developing their own strategy against SIE and to prospective and

             27     current business partners in negotiating with SIE.
             28                                         3
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                            9.       I declare under penalty of perjury under the laws of the United States that the
               1

               2    foregoing is true and correct to the best of my knowledge and belief.

               3
                            Executed on June 21, 2023, in Union City, California.
               4

               5
                                                                    By _________________________________
               6
                                                                                   Christian Svensson
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                        DECLARATION IN SUPPORT OF SONY INTERACTIVE ENTERTAINMENT LLC’S
                                MOTION FOR SEALING AND IN CAMERA TREATMENT
                                              CASE NO. 3:23-CV-2880
